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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )             Case No. 8:10CR-334
                    Plaintiff,               )
                                             )
      vs.                                    )
                                             )                   ORDER
JOSE ESTEBAN HERNANDEZ-                      )
VILLALBA,                                    )
                                             )
                    Defendant.               )


      This matter is before the court on the defendant's Motion to Review Detention (#67).

The defendant moves the court for an order releasing him into the custody of a third-party

custodian. The motion is denied without hearing.

      The proposed placement with a third-party custodian fails to address the court's

concerns as set out in the August 27, 2010 Detention Order (#24), and fails to rebut the

presumption of detention, 18 U.S.C. § 3142(e). I find the defendant should remain

committed.

      IT IS ORDERED: The Defendant's Motion to Review Detention (#67) is denied

without hearing.

      Dated this 25th day of October 2010.


                                         BY THE COURT:


                                         S/ F.A. Gossett, III
                                         United States Magistrate Judge
